
225 S.E.2d 833 (1976)
290 N.C. 312
Larry Walker YOW, Administrator of the Estate of Nelson Allen Yow, Deceased, and Larry Walker Yow and Gaynell Yow as parents of Nelson Allen Yow, Deceased
v.
R. W. Lloyd NANCE.
Supreme Court of North Carolina.
June 17, 1976.
Hartsell, Hartsell &amp; Mills, for plaintiff.
Golding, Crews, Meekins, Gordon &amp; Gray, for defendant.
Petition by plaintiff for discretionary review under GS 7A-31, 29 N.C.App. 419, 224 S.E.2d 292. Denied.
